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 1
                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA
 2
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 3

 4    UNITED STATES OF AMERICA,                              )
                                                              )     2:13-cr-0361-KJD-GWF
 5                              Plaintiff,                    )
                                                              )
 6         vs.                                                )    FINDINGS OF FACT AND ORDER
                                                              )
 7                                                            )
      ALIA BOBER,                                             )
 8                                                            )
                                Defendant.                    )
 9                                                            )

10                                             FINDINGS OF FACT
11                   Based on the pending Stipulation of counsel, and good cause appearing therefore, the
12    Court finds that:
13                   1.         The Government counsel has a medical appointment.
14                   2.         That the parties agree to the continuance.
15                   3.         Additionally, that denial of this request for continuance could result in a
16    miscarriage of justice.
17                   4.         That the additional time requested by this stipulation, is allowed, with the
18    defendant s consent under the Federal Rules of Procedure 5.1(d).
19                   For all of the above-stated reasons, the ends of justice would best be served by a
20    continuance of the preliminary hearing date.
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                                           CONCLUSIONS OF LAW
 1
                     The ends of justice served by granting said continuance outweigh the best interest of
 2
      the public and the defendant, since the failure to grant said continuance would be likely to result in a
 3
      miscarriage of justice, would deny the parties herein sufficient time and the opportunity within
 4
      which to be able to effectively and thoroughly prepare for the preliminary hearing, and possibly
 5
      resolve the case prior to the preliminary hearing, taking into account the exercise of due diligence.
 6
                     The continuance sought herein is allowed, with the defendant s consent, pursuant to
 7
      Federal Rules of Procedure 5.1(d).
 8
                                                     ORDER
 9
                     IT IS THEREFORE ORDERED that the sentencing currently scheduled for January
10
                                                                      January 27, 2016
      20, 2016, at the hour of 9:00 am, be vacated and continued to ______________________ at the hour
11
      of ______
          9:00 am/pm.
                 ..
12

13                          15th
                     DATED _______ day of January, 2016.

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15                                                           ___________________________________
                                                             UNITED STATES DISTRICT JUDGE
16                                                           KENT J. DAWSON
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